Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19            PageID.39     Page 1 of 6



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

    UNITED STATES OF AMERICA,                                    19-20772

                      Plaintiff,


         vs.

    MATTHEW MERCER-KINSER,

                      Defendant.                HONORABLE TERRENCE G. BERG



               CRIMINAL TRIAL NOTICE AND SCHEDULING ORDER

          YOU WILL RECEIVE NO FURTHER NOTICE OF THESE DATES


    Pretrial Motions (except for motions in     12/25/2019
    limine) due:
    Plea cutoff:1                               12/30/2019
    Witness Lists, Proposed Voir Dire,          ONE WEEK prior to final pretrial
    Proposed Jury Instructions and              conference
    Proposed Verdict Form (submitted
    directly to Judge Berg’s chambers) due:
    Motions in Limine due:                      ONE WEEK prior to final pretrial
                                                conference
    Final Pretrial Conference:                  1/9/2020 at 11:30 a.m.


    Trial date:                                 1/14/2020 at 9:00 a.m.2


1
 Parties are directed to contact chambers to schedule a plea hearing once a plea agreement
has been executed, if necessary.
2
 Counsel is advised to confirm the trial date as it approaches with Amanda Chubb, Case
Manager, at (313) 234-2640.
Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19            PageID.40    Page 2 of 6



        The purpose of this Order is to (1) Establish a motion cut-off date; (2)
establish a plea cut-off date; (4) set guidelines for other pretrial matters; and (5) set
a trial date and final pretrial conference.

      This order also is intended to eliminate unnecessary discovery motions and to
expedite the presentation of evidence and the examination of witnesses. To the
extent it is in conflict with any administrative order in this District, this Order shall
govern.

1.     RECUSAL
       The government shall immediately determine whether any portion of this
criminal case or its previous investigation was opened in the United States
Attorney’s office for the Eastern District of Michigan during the period from August
18, 2008, until January 4, 2010 and if it was, shall immediately inform the Court
and defense counsel of both that fact and the date of the opening. Upon its own
initiative or by motion of any party, the Court shall recuse itself from any matter
over which Judge Berg presided as interim United States Attorney for the Eastern
District of Michigan, or in which he represented the United States as an Assistant
United States Attorney.

2.    PLEA CUT-OFF DATE
      If the parties intend to resolve this case by a plea agreement pursuant to
Federal Rule of Criminal Procedure 11, the parties must submit a signed written
plea agreement to chambers on or before the deadline set forth above.

3.     ATTORNEY CONFERENCE AND DISCLOSURE
      Within ten (10) days of the date of arraignment, government and defense
counsel shall meet and confer for the purpose of resolving or minimizing the issues
in controversy. Upon the request of defense counsel, government counsel shall:

      (A) provide defense counsel with the information described in Federal Rule of
      Criminal Procedure 16(a)(1); and
      (B) permit defense counsel to inspect and copy or photograph any
      exculpatory/impeachment evidence within the meaning of Brady v. Maryland,
      373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 97 (1976), and Giglio v.
      United States, 405 U.S. 150 (1972). A list of such evidence shall be prepared
      and signed by all counsel. Copies of the items which have been disclosed shall
      be initialed or otherwise marked.

     Nothing in this Order shall be construed to require the disclosure of Jenks
Act material prior to the time that its disclosure is required by law.

3.    DISCLOSURE DECLINED
Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19          PageID.41    Page 3 of 6



      If, in the judgment of government counsel, it would be detrimental to the
government’s interests to make any of the disclosures set forth in the paragraph
above, the government shall file a motion within the ten-day period seeking relief
from this Order and setting forth the specific reasons therefore.

4.    CONTINUING DUTY
      The duty to disclose is continuing, even throughout trial.

5.     DISCOVERY BY THE GOVERNMENT
       Nothing in this Order is designed to preclude discovery by the government
under the Federal Rules of Criminal Procedure, nor to alter the Defendant’s
obligation, if any, under Rule 16(b).

6.      E-FILING
        Except as specified otherwise in this Court’s ECF Policies and Procedures, or
by other court order, all court papers to be made part of the court record must be
filed electronically. Attorneys must become familiar with the CM/ECF Policies and
Procedures, which can be found as an Appendix to the Local Rules.
        Attorneys shall furnish to chambers courtesy copies of appendices in support
of motions that have been e-filed, limited to the following material: (1) exhibits that
contain materials that cannot be understood adequately in copied form (e.g., color
photographs, color graphs and charts); (2) appendices that exceed 50 pages in
length; (3) motions with exhibits that exceed three in number. Paper copies of
appendices may be sent by ordinary mail posted within one (1) business day of the
e-filing date. Paper copies should be directed to chambers and NOT filed with the
Clerk’s Office.

7.    MOTIONS
      All pretrial motions, except for motions in limine, are to be filed on or before
the date above. If motions are filed, the government or defendant may file a
response within the time allowed by the Local Rules.

8.    EXHIBITS
      (A) Marking of Exhibits
      Counsel are required to mark all proposed exhibits in advance of trial. The
Government’s exhibits shall use numbers and Defendant’s exhibits shall use letters.
A consecutive numbering and lettering system should be used by each party.

      (B) List of Exhibits
      A list of proposed exhibits shall be submitted directly to Judge Berg’s
chambers by each of the parties by the deadline established at the final pretrial
conference. However, no later than one (1) week before the final pretrial conference,
each party shall make available for inspection all exhibits that party will introduce
Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19            PageID.42    Page 4 of 6



at trial. This provision shall not extend the time for disclosure and inspection of
material previously ordered herein.


       (C) Foundation for Exhibits
       When a party has inspected an exhibit that the opposing party intends to
introduce in evidence, the authentication of that will be deemed established unless
the objecting party files a notice with the Court at or before the final pretrial
conference that the foundation for admission into evidence of the exhibit will be
contested.

       (D) Objections to Exhibits
       This Order shall not affect the right of a party to object at the time of trial to
the introduction of an exhibit other than on the basis of authentication and
foundation.

       (E) Custody and Record of Admitted Exhibits
       Counsel are required to maintain a record of all admitted exhibits during
trial. Counsel for each party must keep custody of that party’s admitted exhibits
during trial. A party who objects to this provision must file a written objection prior
to jury selection.

      (F) Publication of Exhibits During Trial
      The Court encourages parties to use electronic projection to publish exhibits
during trial in a manner that allows the jury, court, attorneys, and parties to view
the exhibit simultaneously. Parties are responsible for contacting the court to
arrange use of the court’s equipment to the extent that equipment is available. If
photographs and documentary exhibits are not published electronically, then the
party must prepare exhibit books for the court and each juror. Whether or not
exhibits are published electronically, a separate exhibit book should be prepared
and made available to a witness who is to be questioned about an exhibit.

      (G) Preparing Exhibits For Jury Deliberation
      Counsel must confer and purge from one set of binders or files all exhibits not
admitted during the course of trial. Originals of all exhibits admitted at trial
should be ready to be turned over to the jury foreperson prior to closing jury
instructions so that jury deliberations are not delayed.

       (H) Filing Exhibits
       It is the responsibility of the parties to ensure that the record is complete.
All trial exhibits, briefs, and proposed jury instructions are to be filed in the record
within five business days of the verdict.

      (I) Full Disclosure
Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19           PageID.43    Page 5 of 6



       Computer generated visual or animated evidence, together with underlying
data, must be disclosed to opposing counsel at least one week before the start of
trial.

      (J) Penalty
      A party who does not abide by these provisions may be subject to sanctions,
including preclusion of the introduction of exhibits at trial by the offending party.

9.     WITNESS LIST
       By the deadline established by this Order, and to enable the Court to better
estimate the length of trial, each party shall submit directly to Judge Berg’s
chambers a list of witnesses by name and agency (if appropriate), whom it
reasonably anticipates it will call to testify at trial, noting the approximate amount
of time the party anticipates will be needed for examination of each such witness.
The list must be served on opposing counsel; proof of service must be attached. This
list and proof of service are NOT to be electronically filed or otherwise submitted to
the Clerk’s Office.

10.   JURY INSTRUCTIONS
      The parties must meet and confer prior to trial to discuss jury instructions.
By the deadline established by this Order, the parties must submit directly to Judge
Berg’s chambers a single set of proposed, stipulated jury instructions. Counsel are
responsible for submitting all instructions related to their specific claims or
defenses, and special instructions relating to evidence. All such instructions are to
be submitted in Word format via the Proposed Orders function in CM/ECF; each
instruction shall contain references to authority (e.g., “Devitt and Blackmar, Section
11.08"), and each instruction shall be on a separate page. In addition, each party
must submit separately to Judge Berg’s chambers all additional proposed
instruction (in the same form) to which any other party objects. The parties must
make a concerted, good faith effort to narrow the areas of dispute and to discuss
each instruction with a view to reaching agreement as to an acceptable form.

11.   VOIR DIRE
      The Court will conduct voir dire. The court may allow the attorneys to
present follow up questions at a sidebar conference, and when appropriate, the
court will also ask the requested follow up questions.

12.   JUROR NOTE TAKING
      Jurors will be allowed to take notes.

13.    ALTERNATE JURORS
       If more than twelve (12) jurors are selected, the Court prefers that alternate
jurors be removed by lot at the conclusion of the final jury instructions, unless a
party objects to this process at or before the final pretrial conference. If objections
Case 2:19-cr-20772-TGB-APP ECF No. 14 filed 12/05/19                PageID.44   Page 6 of 6



are made, the last juror(s) drawn during the selection process shall be deemed the
alternate juror(s).

14.    CONTINUANCES
       Continuances of trial dates or continuances during trial will not be granted
because of unavailability of witnesses. Please notify the Court if Court intervention
is necessary to secure witness attendance. Otherwise, witnesses will be expected to
be available when called.

15.   FINAL PRETRIAL CONFERENCE
      At the final pretrial conference, counsel must be prepared to discuss all
matters that will promote a fair and expeditious trial, including but not limited to:

      A.     Anticipated evidentiary issues;
      B.     Length of trial;
      C.     Stipulations that may obviate the need for foundation witnesses;
      D.     Stipulations that may obviate the need to prove facts that are
             uncontested;
      E.     Stipulations that may obviate the need for certain exhibits;
      F.     Peremptory challenges; and
      G.     Special arrangements for the presentation of witnesses and other
             evidence (handicapped parties/witnesses, A/V needs, interpreters, etc.).

16.   SENTENCING
      Counsel are advised that sentencing memoranda are required from the
government and defendant in the event of any sentencing proceedings. The
memoranda shall be filed no later than one week before the sentencing hearing.


                                           BY THE COURT:


                                           /s/Terrence G. Berg



                                CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                    December 5, 2019, by electronic and/or ordinary mail.

                                     /s/ Amanda Chubb
                                        Case Manager
                                       (313) 234-2644
